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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                    MEMPHIS DIVISION

UNITED STATES OF AMERICA,                          §
     Plaintiff,                                    §
                                                   §
vs.                                                §
                                                   §            Case No.
                                                   §            2:23-CR-20121-JPM-1
ASHLEY GRAYSON                                     §
    Defendant.                                     §
                                                   §



                      DEFENDANT’S NOTICE OF EXPERT TESTIMONY

To the Honorable United States District Judge John Phipps McCalla:
            COMES NOW Ashley Grayson, by and through her undersigned counsel, who hereby

 provides notice, pursuant to LCrR 16. 1(c)(2), that the defense intends to call the following expert

 witnesses in the area of digital forensic analysis and criminal investigation to testify in the

 upcoming trial in this matter.

      I.      DIGITAL FORENSIC ANALYSIS AND CRIMINAL INVESTIGATION

           Defendant’s digital forensic analysis and criminal investigation experts are Christopher

DeLeon and Amanda Fields. Both have extensive training and experience in law enforcement digital

forensic analysis and investigations. Their CVs, along with a summary of witness testimony they

have provided, shall be submitted to the Government.

           Mr. DeLeon and Ms. Fields will testify to accepted standards of practice in law enforcement

digital forensic analysis and criminal investigations, the failure of law enforcement agents in this

case to adhere to those standard investigative practices, and the resulting inaccurate conclusions due

to their failure to comply with routine, standard investigative techniques; law enforcement’s failure

to preserve original evidence and forensic artifacts, resulting in the permanent loss of necessary
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critical digital evidence; and the overall results of Mr. DeLeon’s and Ms. Fields’ investigative

findings through their independent analyses of various devices, electronically stored historical data,

databases, cloud storage files and backups, device update histories, call logs, cellphone imaging data,

videos, apps used by various people during the alleged offense, and deleted files.

       Mr. DeLeon and Ms. Fields have prepared and signed reports that will further explain their

opinions and the bases and reasons for them. Their signed reports shall be delivered in writing to the

United States Attorney’s Office to comport with Fed. R. Cr. P. 16.

                                                                Respectfully submitted,

                                                                /s/ Scott H. Palmer
                                                                Scott Palmer
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                                                                /s/ Leslie I. Ballin
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                                                                ATTORNEYS FOR ASHLEY GRAYSON

                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing notice has been served upon

 Assistant United States Attorneys Patrick Neal Oldham and Bryce Phillips, and all other


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interested parties, on December 18, 2023, via CM/ECF.

       Pursuant to LCrR 16.1(c)(2), only the written notification of expert testimony is being

filed with the Clerk of the Court via CM/ECF. A copy of the experts’ identification information

and a copy of the expert’s report or summary of the experts’ anticipated testimonies shall be

delivered in writing to the United States Attorney’s Office.


                                                               /s/ Scott H. Palmer
                                                               Scott H. Palmer




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